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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,

 v.          CASE NO. 8:05-CR-498-T-17AEP

 JERRY K. ROBERSON.

                                   /


                                        ORDER


        This cause is before the Court on the telephone inquiry of the Federal Bureau of
 Prison as to whether Defendant Roberson’s sentence is concurrent or consecutive to
 the state sentence in Docket No. 04-11564, Pinellas County Circuit Court. The
 sentencing minutes (Dkt. 483), as well as the docket entry for the Judgement (Dkt. 487)
 reflect that Defendant Roberson’s sentence of 262 months of imprisonment is to run
 concurrent with Docket No 04-11564, Pinellas Count Circuit Court. (See attached
 exhibits.) Accordingly, it is


        ORDERED that the Court intended that Defendant Roberson’s 262 month
 sentence of imprisonment imposed on December 15, 2006 is concurrent to the state
 sentence in Docket No. 04-11564, Pinellas County Circuit Court.
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        DONE and ORDERED in Chambers in Tampa, Florida on this 29th day of
 March, 2016.




 Copies to:
 All parties and counsel of record




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